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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

IMEDIA NY, INC.,
                                                        Case No.:
                                  Plaintiff,

                    - against -

BRYANT MEYERS and ENERGY MED LLC,

                                  Defendants.


                 COMPLAINT FOR INJUNCTIVE AND OTHER RELIEF

       Plaintiff, iMedia NY, Inc., doing business as “Healthyline” (“Healthyline” or “Plaintiff”),

by and through its counsel, Sauchik & Giyaur P.C., brings this action against the defendants,

Bryant Meyers (“Meyers”) and Energy Med LLC (“Energy Med”) (Meyers and Energy Med are

referred to herein, collectively, as “Defendants”), and alleges as follows:


                                   SUMMARY OF THE ACTION

       1.      This is an action at law and in equity to remedy acts of, inter alia, (a) product

disparagement, trade libel, and false description under section 43(a) of the Lanham Act, 15

U.S.C. §1125(a); (b) deceptive trade practices under New York General Business Law and the

common law of the State of New York; (c) product disparagement and trade libel under the

common law of the State of New York; (d) interference with prospective economic advantage;

and (e) commercial defamation under the common law of the State of New York.

       2.      Since at least 2013, Healthyline has been designing and producing over 100

models of medical heat therapy mats, vests and other products that incorporate natural

gemstones, pulsed electromagnetic fields (“PEMF”), and other modalities, including far infrared

heat, negative ions, and photon lights, in their design. Presently, Healthyline is a market leader
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in its field.

         3.       Through an enormous investment of time, money, and resources, Healthyline has

developed highly effective and safe heating mats and other devices using infrared heating and

PEMF. In 2016, Healthyline patented the modality, used in Healthyline products, that combines

infrared heating and PEMF.

         4.       Defendants, which compete with Plaintiff in the same market for similar products,

are falsely claiming that Healthyline products are counterfeit, inferior, and use materials and

technologies that are unsafe, ineffective, and harmful to consumer health. Using false, malicious

and injurious statements, Defendants are discouraging existing and prospective Healthyline

customers from purchasing Healthyline products and are inducing existing users of Healthyline

products to stop using them. The monetary and reputational damage to various Healthyline

products that are under attack from Defendants, the Healthyline brand, Healthyline’s other

products, and Healthyline as a company are enormous.

         5.       Defendant Meyers, Energy Med, and other entities, which act in concert with

Meyers, are distributor of various products that compete with those of Plaintiff. Defendants’

products are manufactured by a Swiss company Swiss Bionic Solutions GmbH. Defendants

operate a website www.imrs2000.com, which lists a toll-free telephone number that prospective

customers can use to place direct orders for Defendants’ products. Defendants also own and

operate a website, www.pemft.net, which contains Defendants’ statements in print and video

concerning Plaintiff’s products. Defendants’ products are also sold through independent

distributors.

         6.       Defendants have launched an unprecedented and malicious attack on Plaintiff and

its products. Defendants’ false and malicious statements in print, video, and on the Internet,




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have irreparably harmed the value of Healthyline’s investment by falsely portraying

Healthyline’s products as dangerous, and by making unfounded and misleading claims as to

PEMF technologies used in Healthyline’s products. Defendant Meyers disseminates these false

and malicious claims through, among other things, his YouTube channel,

https://www.youtube.com/user/bryantmeyers, which at the time of this Complaint has over five

thousand subscribers and contains 124 videos, as well as www.imrs2000.com andwww.pemft.net

websites.

         7.       While Defendants’ ads may have, at one time, been limited to a simple expression

of study data, this is clearly no longer the case. The aggressiveness and explicitness of

Defendants’ tactics have increased over time. The progressive encroachment of Defendants’

false advertising and other malicious tactics forces Healthyline to seek this Court’s assistance in

stopping this campaign and awarding Healthyline damages to make it whole.


                                           THE PARTIES

         8.       Plaintiff Healthyline is a corporation duly organized and existing under the laws

of the State of New York, having its principal place of business in New York, New York.

Healthyline designs and markets various consumer products, including medical heat therapy

mats, vests and other products that use natural gemstones, PEMF, and other modalities, including

far infrared heat, negative ions, and photon lights. Healthyline products are sold throughout the

United States and in the State of New York, including this judicial district.

         9.       Defendant Meyers is an individual residing in the State of Florida. Defendant

Myers is a principal and CEO of Defendant Energy Med. Products marketed and distributed by

Meyers are sold throughout the United States and in the State of New York, including this

judicial district. The offending advertising statements have been published nationally, including



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in this judicial district.

         10.      Defendant Energy Med is a limited liability company organized and existing

under the laws of the State of Florida, having places of business in Bradenton, Florida and

Sarasota, Florida. Energy Med markets and distributes, directly and through affiliates, products

that use PEMF, including, but not limited to products manufactured by Swiss Bionic Solutions

GmbH. Products marketed and distributed by Energy Med are sold throughout the United States

and in the State of New York, including this judicial district. The offending advertising

statements have been published nationally, including in this judicial district.


                                    JURISDICTION AND VENUE

         11.      This Court has original jurisdiction over this action pursuant to 28 U.S.C. §§ 1331

because the action arises under the Lanham Act, 15 U.S.C. §§ 1051, et seq., and pursuant to 28

U.S.C. § 1332 because the amount in controversy exceeds $75,000, exclusive of interest and

costs, and is between citizens of different States. The Court has supplemental jurisdiction over

Healthyline’s state law claims pursuant to 28 U.S.C. §1367(a).

         12.      This Court has personal jurisdiction over Meyers and Energy Med because

Meyers and Energy Med sell products, offers products for sale (including via the advertisements

that are the subject of this lawsuit) and have published the offending advertising in New York,

including in this judicial district, and otherwise conducts business in the State of New York,

including this judicial district.

         13.      Venue is proper in this federal judicial district pursuant to 28 U.S.C. § 1391(b)(2)

because a substantial part of the events or omissions giving rise to the claims alleged herein

occurred within this district; and pursuant to 28 U.S.C. § 1391(c) because Defendants are subject

to personal jurisdiction in this judicial district, and on that basis are deemed to reside in this



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district.


                                           BACKGROUND

         14.      Healthyline is a health and wellness company that designs and markets various

consumer products, including, but not limited to, mats and vests that use different modalities to

deliver health and wellness benefits to consumers.

         15.      Some of the modalities that Healthyline products incorporate in their design are

natural gemstones, PEMF, far infrared heat, negative ions, and photon lights.

         16.      There exists a substantial consumer market in the United States for equipment and

products incorporating the modalities used in Healthyline products. Healthyline sells its

products to individuals and spas that use Healthyline products commercially.

         17.      Healthyline sells its products directly to consumers via its website,

Healthyline.com. Healthyline also operates a brick-and-mortar store located at 515 7th Avenue,

New York, New York. It also sells its products at trade shows throughout the United States.

         18.      One of the biggest distribution channels for Healthyline products are its

authorized resellers. The largest reseller of Healthyline products by volume of sales is

Healthywave, a company located in Blaine, Washington, which owns and operates a website

healthywavemat.com.

         19.      Healthyline products are known and distinguishable from those sold by other

companies in several important respects. Healthyline products combine multiple modalities,

while typically other products offer only one modality. Additionally, Healthyline products

incorporate intricate control mechanisms that permit consumers to vary parameters of treatment

as they see fit, within a wide range.

         20.      Many Healthyline products incorporate low frequency PEMF technology. Many



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independent studies have demonstrated significant health benefits from using PEMF

technologies. However, the use of PEMF technologies has not been evaluated by the U.S. Food

and Drug Administration (“FDA”).

         21.      Healthyline does not make any claims that it is not permitted to make under the

laws applicable to marketing of medical devices. All of Healthyline’s advertising and promotion

activities are conducted in strictest compliance with all rules and regulations applicable to

marketing of consumer products, including the Federal Trade Commission Act, 15 U.S.C. § 41 et

seq. (the “FTC Act”).

         22.      There exist various studies that claim to have evaluated the effects of varying

parameters of PEMF on human health and wellbeing. Some of these studies claim that PEMF of

certain frequencies, intensities, and pulse duration, among other things, are more beneficial than

others, while others claim that certain PEMF types are harmful or useless. Upon information

and belief, the U.S. Food and Drug Administration has not evaluated any of these studies.

         23.      Healthyline has, and continues to, design products that incorporate controllers

allowing consumers to vary multiple parameters of PEMF applications. For example,

Healthyline products allow consumers to vary frequencies and pulse duration as well as intensity

of PEMF applications and the duration of the therapy.

         24.      Healthyline products are widely used by consumers worldwide. Healthyline

products have been featured in numerous publications and have been reviewed by and endorsed

by many public figures, including celebrity media personalities. Healthyline, its products, and its

distributors, enjoy stellar and enthusiastic reviews on various review platforms.

         25.      Consumers who use Healthyline products as well as those made and sold by other

companies, which products incorporate PEMF and other modalities, are often very sensitive to




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reviews, studies and claims regarding such products’ operating principles, effect on human

health and well-being, and such products’ safety and efficiency. This is partially so because such

products are not prescribed by healthcare professionals but are marketed directly to consumers

on the basis of advertising claims. Many users of PEMF products rely on and are sensitive to

such advertising claims, particularly when they are purported to be backed by solid scientific

evidence.

         26.      Defendant Meyers is a self-proclaimed “influencer” and “researcher” of PEMF

technology. He is the author of a book on PEMF which, at some point in 2019, he claimed had

sold over 100,000 copies. He also admitted to owning and operating over twenty websites on

PEMF technology. He also claimed that his YouTube channels had had over 1,000,000 views.

         27.      Meyers, through various entities, including but not limited to Defendant Energy

Med, acts as a United States dealer and distributor of products made by Swiss Bionic Solutions

GmbH, namely, iMRS2000 Prime Systems.

         28.      iMRS2000 Prime Systems use PEMF technologies that use similar operating

principles to Healthyline products. iMRS2000 Prime Systems (“iMRS2000”) come in the form

of mats and other styles. iMRS2000 directly competes with Healthyline products.

         29.      Meyers has made claims about iMRS2000 that are prohibited by the FTC Act, 15

U.S.C. § 41 et seq. For example, on May 11, 2020, the Federal Trade Commission (“FTC”)

issued a warning letter to Meyers stating that he had made claims in violation of the FTC act,

namely, that iMRS2000 products can assist in preventing, treating, or curing Covid-19 and its

complications, and requesting him and his entities to cease making false and unsubstantiated

claims and provide assurances of compliance to the FTC.




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            MEYERS’ FALSE ADVERTISING AND PRODUCT DISPARAGEMENT

         30.      In or about 2019, Meyers embarked on a campaign of false advertising and

product disparagement aimed at Healthyline and its products.

         31.      In December 2019, Meyers threatened Healthyline to begin an aggressive

“comparison” review campaign to disparage Healthyline products. He claimed that he had done

the same to another company, Bemer, and as a result, Bemer lost probably well over $1,000,000

in sales.

         32.      Meyers’ threats were, ostensibly, in response to a technical comparison video

review that was made by and posted by Healthywave, Healthyline’s distributor.

         33.      Meyers acted on his threat. In 2019, he launched a Google advertising campaign

in which he created an appearance that Healthyline was critical of Healthywave and was

disparaging Healthywave, its staff, and the products it sold. Nowhere in the Google advertising

campaign that Meyers had maliciously created was there any mention to consumers that it was

commissioned by Meyers. However, upon request Google disclosed to Healthyline that it was a

smear campaign created and paid for by Meyers.

         34.      Upon information and belief, this Google advertising campaign was highly

effective in creating false impressions upon existing and potential consumers of Healthyline

products. Healthyline received numerous inquiries from existing and potential customers who

were puzzled and perturbed by what they perceived to be information coming from Healthyline.

         35.      In 2019 and 2020, Healthyline and Healthywave experienced a dramatic decrease

in sales and lost many existing and potential customers.

         36.      In the summer of 2023, Meyers struck again. He began posting numerous videos

and other materials on the Internet critical of Healthyline and its products. One example of such




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videos is accessible here: https://www.youtube.com/watch?v=E6l1fQUijss. The video, which

was posted in or about June 2023, is entitled “Healthyline / Healthywave PEMF Mat Review &

Exposé”. The first line of the comments to the video states “Don’t Buy Healthyline (or

Healthywave) if you are in the market for a PEMF Device call me for a free consultation 941-

928-0124. Or email questions to bryant.meyers@gmail.com”




         37.      The video is just one example of many different false and misleading ones created



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 by Meyers.

          38.      In these videos and website posts made in recent months, Meyers makes

 inaccurate technical claims asserting that Healthyline’s PEMF technology does not produce

 proper signals, uses low-quality materials, has ineffective infrared heating and other functions,

 and more. He refers to Healthyline’s PEMF devices as “fake”, “counterfeit” and “unsafe”,

 alleging they cannot provide health benefits to consumers who purchase them.

          39.      However, evidence from Healthyline’s own product testing and engineering

 specifications contradicts many of Meyers’ technical assertions about the current products.

          40.      In other recent YouTube videos, Meyers targeted Healthyline by making multiple

 unsupported claims about the products being unsafe, low quality, and ineffective. He provided

 no concrete evidence for these assertions. Meyers continues trying to portray Healthyline

 products as “toxic” and “harmful”.

          41.      There is absolutely no independent valid scientific evidence that any of Meyers’

 statements concerning Healthyline products are true.

          42.      Meyers’ videos and other website postings have been viewed by thousands of

 current and potential customers of Healthyline worldwide. Aiming to produce a maximum

 negative impact on Healthyline, Meyers ensured that his vile, malicious videos and other

 materials rank high on YouTube. For example, a search for “Healthyline mat” on YouTube on

 November 16, 2023, showed Meyers’ “expose” in a number five position.

          43.      Consumers began noticing Meyers’ smear campaign and have reacted to it

 negatively. By way of example, Healthyline’s customers have been sending Healthyline’s

 customer support emails like this:

          I just watched Bryant Meyers expose’ on your multi modality mats. If what he says is
          true, I feel totally ripped off and I want me money back! If he is not correct I want an



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          explanation of how he is not correct. Your write up on dirty electricity is just one of
          MANY comments he made, including the frequency is 60 hz for all your options it’s just
          pulsed on and off; the red light is TOTALLY ineffective, the ‘PEMF’ coils are not
          designed correctly, there is no negative ions, the infrared therapy is at the wrong
          frequency.
          As you might imagine, I am not happy. I can’t believe I’m the only one writing you so
          hopefully you already have a rebuttal written. I look forward to your responses

          44.      Meyers’ actions are intentionally malicious and pursue two clear goals –

 disparage and damage Healthyline and its products and promote iMRS2000, the brand that he

 distributes and sells.

          45.      Meyers does not even attempt to disguise that the reason for his malicious actions

 is to promote his products. Links to iMRS2000.com, positive reviews about this brand, and the

 websites affiliated with Meyers that promote iMRS2000 are frequently prominently featured

 throughout the disparaging and negative materials about Healthyline. The videos published by

 Meyers also portray iMRS2000 in a positive light while claiming that Healthyline products are

 inferior, unsafe, and useless.

          46.      Upon information and belief, the false and misleading statements and advertising

 claims set forth herein are part of a common marketing scheme or plan by Meyers, which

 includes printed advertising and promotional materials, materials intended for consumer

 dissemination to erode professional and consumer confidence in the safety of Healthyline

 products, in the Healthyline brand and in Healthyline as a company.


                          HARM CAUSED BY DEFENDANTS’ ACTIONS

          47.      Defendants’ portrayal of Healthyline products intentionally misleads, confuses,

 and deceives consumers, through words and visual images, and through a combination of words

 and visual images, into believing that Healthyline products are unsafe, inferior to Defendants’

 products, counterfeit, and ineffective. This message is materially false and deceptive because




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 Healthyline products are not unsafe, nor are they inferior to Defendants’ products, counterfeit or

 ineffective.

          48.      Defendants’ portrayal of Healthyline products intentionally misleads, confuses,

 and deceives consumers, through words and visual images, and through a combination of words

 and visual images, into believing that Healthyline products may cause negative health effects on

 consumers of such products. This message is materially false and deceptive because the scientific

 and clinical data do not establish this contention.

          49.      Upon information and belief, Defendants’ advertisements were intended to and

 did in fact mislead and deceive consumers into recommending and/or purchasing Defendants’

 products.

          50.      Upon information and belief, Defendants’ advertisements were intended to and

 did in fact mislead and deceive consumers to the point that they have refrained from purchasing

 or continuing to use Healthyline products.

          51.      Upon information and belief, the foregoing actions of Defendants were

 undertaken willfully and wantonly, and with a conscious disregard for Healthyline’s rights.

          52.      Prior to Defendants’ wrongful conduct, Healthyline had developed and

 maintained substantial goodwill and reputation with regard to its products and business.

 Defendants’ wrongful conduct, as described in this Complaint, has caused substantial damages,

 including harm to the reputation of Healthyline’s products and goodwill, and expenses in time

 and money incurred to combat Defendants’ false statements.

          53.      As a direct and proximate result of Defendants’ false and misleading campaign,

 Healthyline is suffering immediate and continuing irreparable injury for which there is no

 adequate remedy at law.




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          54.      Further, Defendants’ actions are likely to have caused and will likely continue to

 cause Healthyline to suffer substantial damages, including loss of sales and profits of its products

 and loss of market share.

          55.      The foregoing acts have occurred in, or in a manner affected, interstate

 commerce.


                                             COUNT I
              (False Advertising in Violation of the Lanham Act, 15 U.S.C. § 1125(A))

          56.      Plaintiff realleges and incorporates by reference paragraphs Error! Reference

 source not found. to 55 of this Complaint as though set forth in full herein.

          57.      The foregoing acts of the Defendants constitute false advertising and false

 representation in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

          58.      This is an exceptional case within the meaning of Section 35 of the Lanham Act,

 15 U.S.C. § 1117.


                                         COUNT II
         (Product Disparagement in Violation of the Lanham Act, 15 U.S.C. § 1125(A))

          59.      Plaintiff realleges and incorporates by reference paragraphs Error! Reference

 source not found. to 58 of this Complaint as though set forth in full herein.

          60.      As detailed above, Defendants have disseminated in commerce disparaging

 misrepresentations about Healthyline products for the commercial advertising and promotion of

 Defendants’ products, which has resulted or is likely to result in significant damage to

 Healthyline.

          61.      The statements made by Defendants are not subjective claims or opinions but are

 demonstrably false descriptions and representations of fact about the nature, characteristics and

 qualities of Healthyline products.



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          62.      These statements have been made by Defendants, recognized market competitors

 of Healthyline, to influence consumers to buy Defendants’ goods or services and have been

 disseminated sufficiently to the relevant purchasing public to constitute commercial advertising

 or promotion.

          63.      The foregoing acts of Defendants constitute product disparagement in violation of

 Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

          64.      This is an exceptional case within the meaning of Section 35 of the Lanham Act,

 15 U.S.C. § 1117.


                                            COUNT III
                           (Violation of New York General Business Law)

          65.      Plaintiff realleges and incorporates by reference paragraphs Error! Reference

 source not found. to 64 of this Complaint as though set forth in full herein.

          66.      Defendants’ advertising is consumer-oriented and materially misleading.

 Consumers and the public at large are being harmed as a result of Defendants’ deceptive

 practices, acts and advertisements. Defendants’ advertising has a broad impact on consumers.

          67.      The foregoing acts of Defendants constitute deceptive acts and practices and false

 advertising addressed to the market generally and/or in a manner that implicates consumer

 protection concerns in violation of the New York State Gen. Bus. Law §§ 349 and 350.



                                           COUNT IV
                         (Product Disparagement, Injurious Falsehood and
                           Trade Libel Under New York Common Law)

          68.      Plaintiff realleges and incorporates by reference paragraphs Error! Reference

 source not found. to 67 of this Complaint as though set forth in full herein.




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          69.      As described above, Defendants have disseminated false and disparaging

 statements of fact about Healthyline products. As specific examples of such statements,

 Healthyline incorporates paragraph 36 of this Complaint by reference, as if fully restated herein.

 These statements regarding Healthyline products are not susceptible to any meaning other than

 one that is disparaging.

          70.      Defendants’ false and disparaging statements were broadly disseminated to

 numerous third parties through printed materials and the internet.

          71.      On information and belief, Defendants’ statements about Healthyline products

 were made with either knowledge of the falsity of the statements or with reckless disregard of the

 truth or falsity of the statements.

          72.      On information and belief, Defendants made these false and disparaging

 statements with intent to harm Healthyline, or with knowledge that harm to Healthyline would

 inevitably result.

          73.      These statements have played and will continue to play a material and substantial

 part in inducing members of the public not to deal with Healthyline or to purchase Healthyline

 products. For example, Healthyline has received reports that some patients who purchased

 Healthyline products returned them and asked for a refund, after having viewed the type of

 materials included in the Defendants’ advertisements.

          74.      As a direct and proximate result of these actions, Healthyline has suffered and

 will continue to suffer significant and special damages.

          75.      The foregoing acts of Defendants constitute product disparagement, trade libel

 and injurious falsehood under the common law of New York.




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                                               COUNT V
                           (Unfair Competition Under New York Common Law)

          76.      Plaintiff realleges and incorporates by reference paragraphs Error! Reference

 source not found. to 75 of this Complaint as though set forth in full herein.

          77.      The foregoing acts of Defendants constitute unfair competition under the common

 law of New York.



                                                COUNT VI
                        (Tortious Interference With Prospective Business Relations)

          78.      Plaintiffs reallege and incorporate by reference paragraphs Error! Reference

 source not found. to 77 of this Complaint as if fully set forth herein.

          79.      Defendants interfered with and caused Healthyline’s business relations, namely its

 consumers to dilute and cease their relationship with Healthyline, and preventing potential

 customers from doing business with Healthyline, by improperly causing the reduction of product

 purchased from Healthyline.

          80.      Defendants have interfered with Healthyline’s business relations for the purpose

 of inflicting intentional harm on Healthyline while simultaneously enriching themselves.

          81.      As a direct result of Defendants’ actions, Healthyline has suffered harm to its

 business and its business prospects.

          82.      As a result of the foregoing, Healthyline is entitled to an award of compensatory,

 consequential, and punitive damages for malicious and wanton conduct based upon the

 Defendants’ past and continuing tortious interference. Further, Defendants should be directed to

 immediately account for all monies earned as a result of their tortious interference and to

 disgorge same.




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          83.      Defendant’s acts are knowing and willful because Defendants committed such

 acts with knowledge that Healthyline products are not as Defendants have described them in the

 false and injurious advertising campaign described in this Complaint.

          84.      Unless Defendants are enjoined from their wrongful conduct, Healthyline will

 suffer further irreparable injury and harm, for which it has no adequate remedy at law.

          85.      Plaintiffs are therefore entitled to damages to be determined at trial.



                                        PRAYER FOR RELIEF

 WHEREFORE, Plaintiffs demand judgment against all Defendants as follows:

          (1)      For a Preliminary and Permanent Injunction Order, which:

                   (a) preliminarily and permanently enjoins Defendant Meyers, Defendant Energy

          Med, and its officers, agents, servants and employees, and all persons in active concert

          and participation with them, including their affiliates, from further disseminating the false

          and deceptive advertising claims in any form or medium;

                   (b) requires Defendants to disseminate among consumers corrective advertising to

          dispel the false and deceptive messages contained in the false and misleading advertising;

          and

          (2)      For an order directing Defendants to account for, and to pay over to Healthyline,

 all gains, profits and advantages derived by Defendants from the above-described wrongful acts;

          (3)      For monetary damages sustained by Healthyline as a result of Defendants’

 unlawful conduct, in an amount to be proved at trial, and to be multiplied or otherwise enhanced

 because of Defendants’ willful and deliberate activities described herein;

          (4)      Directing that Defendants pay Healthyline punitive damages resulting from state


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 law violations;

           (5)     Directing that the Defendants pay Healthyline the costs of this action and its

 reasonable attorneys’ fees incurred herein as authorized by law; and

           (6)     Granting Healthyline such other and further relief as this Court deems just and

 proper.


                                  DEMAND FOR TRIAL BY JURY

           Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, iMedia NY, Inc. d/b/a

 Healthyline hereby demands a trial by jury.


 Dated: December 22, 2023


                                                           SAUCHIK & GIYAUR, P.C.

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